              Case 3:14-cv-02346-JCS Document 358-1 Filed 10/16/17 Page 1 of 2

                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

Case No: 14-cv-02346-JCS and Consolidated Case No. 14-cv-05337-JCS
Case Name: Wit v. United Healthcare Insurance Company & Consolidated Case: Alexander v. United
Healthcare

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

CHIEF MAGISTRATE              PLAINTIFF ATTORNEY:                   DEFENSE ATTORNEY:
JUDGE: Joseph C. Spero        Caroline Reynolds, Carl S. Kravitz,   Jennifer Romano, Nathan Bualat,
                              Jason Cowart, Adam Abelson, Aitan     Jeffrey Rutherford, April Ross,
                              Goleman                               Andrew Holmer
BENCH TRIAL DATE:             REPORTER(S): Joann Bryce &            CLERK: Karen L. Hom
10/16/17                      Kathy Sullivan


PLF   DEF    DATE/TIME
NO.   NO.    OFFERED          ID     REC     DESCRIPTION
             8:20 AM                         All parties and counsel present.
             8:32 AM                         Court convened. Defendants housekeeping issue regarding
                                             evidence for class certification. Plaintiffs housekeeping issue
                                             regarding deposition designations and counter designations
                                             and where time should be allocated.
             8:39 AM                         Plaintiffs’ opening statement by Carolyn Reynolds
             9:16 AM                         Defendant’s opening statement by Jennifer Romano
1-           9:55 AM          X      X       Exhibits 1-224 Level of Care Guidelines.
224
880          9:56 AM                         Stipulation of Facts, ECF Dkt 257 is admitted as a new
                                             exhibit.
             9:57 AM                         Dr. Marc Fishman. Clerk administered witness oath. Direct
                                             exam by Aitan Goleman
670          10:00 AM         X      X       Exh. 670 – CV of Dr. Fishman
642          10:08 AM         X      X       Exh 642 ASAM PPC-2R, Second Edition-Revised, 2001
662                           X      X       Exh 662 The ASAM Criteria, Third Edition, 2013
             10:23 AM         X              Exh 881A – pg 5 (demonstrative) & Exh 881B
                                             (demonstrative).
             10:45 AM                        Court recessed for short break.
             11:08 AM                        Court reconvened. Continued direct exam of Dr. Fishman by
                                             Aitan Goleman.
             12:34 PM                        Court recessed for lunch. Court to reconvene at 1:30 PM
             1:25 PM                         All counsel and parties present.
             1:40 PM                         Court reconvened. Continued direct exam of Dr. Fishman by
                                             Goleman.
661          1:43 PM          X      X       Exh 661 State of Texas Department of Health. (1999).
                                             Standards for Reasonable Cost Control and Utilization
                                             Review for Chemical Dependency Treatment Centers
                                                   1
              Case 3:14-cv-02346-JCS Document 358-1 Filed 10/16/17 Page 2 of 2

Case No: 14-cv-02346-JCS & Consolidated Case No. 14-cv-05337-JCS
Case Name: Wit v. United Healthcare Insurance Company & Consolidated Case Alexander v. United
Healthcare
Date: October 16, 2017
Courtroom Deputy: Karen Hom                     Court Reporter: Joann Bryce & Kathy Sullivan

                            EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF    DATE/TIME
NO.   NO.    OFFERED          ID     REC     DESCRIPTION
699          1:49 PM          X              Exh 699 – Objection. Sustained.
700                           X              Exh 700 – Objection. Sustained.
701                           X              Exh 701 – Objection. Sustained.
882          1:54 PM          X              Exh 882
880          2:04 PM          X              Exh 880
             2:10 PM                         Cross-Examination. Court held discussion regarding the
                                             guidelines and parties shall focus on what’s right and what’s
                                             wrong with the guidelines.
             2:18 PM                         Cross-exam of Fishman by Jeffrey Rutherford
             3:14 PM                         Re-direct exam of Fishman by Aitan Goleman.
             4:01 PM                         Court recessed for the day.
                                             Bench trial continued to 10/17/17 at 8:30 AM.



                                             Time: Plaintiff: 19:45:55 Defendant: 22:25:19




                                                   2
